1. A motion for continuance is addressed to the sound discretion of the trial court. Under the circumstances of this case, it does not appear that the trial judge abused his discretion, and his ruling refusing a continuance will not be disturbed by this court.
2, 3. The evidence authorized, but did not demand, the verdict in favor of the insured. This is true although the evidence shows that the insured derives some income from certain farms owned by him and operated by a partner and from an automobile agency owned by him, it appearing that neither of these businesses require any effort or physical work whatever of the insured.
4. The verdict was not excessive for any reason assigned.
5. Under the provisions of the policies in this case, which were total-disability policies, the insured would be totally disabled within the meaning of the terms of the policies if he was unable to perform any substantial part of the duties of his occupation or such other employment approximating the same livelihood as he might fairly have been expected to follow; and the court erred in instructing the jury that he would be totally disabled if the injury or disease of the insured was such that common care and prudence required him to desist and he did desist from transacting his business.
6. Where the evidence showed that the plaintiff had furnished the defendant insurance company proof of disability, and the insurer had retained the same without objection and denied liability, this was a waiver of proof of disability, and any error in the court submitting to the jury the question as to whether or not the plaintiff had furnished the defendant with proper proof of disability was harmless to the defendant.
7. For the reason set out in division 5 of the opinion, the judge erred in overruling the motion for a new trial.
       DECIDED FEBRUARY 26, 1948. REHEARING DENIED MARCH 18, 1948.
Courtland J. Hill sued Travelers Insurance Company in the Superior Court of Wilkes County, seeking to recover for total and permanent disability upon 8 policies of insurance for $1000 each, issued by the defendant to him. The defendant answered and denied that the plaintiff was permanently and totally disabled within the meaning of the contracts of insurance, and denied that the plaintiff had furnished it proofs of disability as required by the policies. Upon the call of the case for trial, the defendant moved for a continuance to allow it time to make a request to have the plaintiff examined by a physician of its choice. The trial judge denied the continuance, but stated that he would grant such a request if it were made by the following *Page 641 
day. The defendant did not make any further request to have the plaintiff examined, but excepted pendente lite to the ruling of the court refusing the continuance.
The case proceeded to trial, and Dr. T. C. Nash testified in part: "On or about March 1, 1946, I was called upon to make an examination of Mr. Hill for the purpose of furnishing an insurance report. . . At the time I made the examination . . Mr. Hill was in a very run-down condition, looked like he was anemic and suffering from general malaise, weakness, and inability to carry on his regular duties, so he told me. He also had a single hernia on the right side. . . He was in a rundown, nervous, weak, and debilitated condition. He stated he had some indication of losing his mind at that time. . . I continued to treat Mr. Hill, both at the hospital and at his home. He finally underwent an operation for hernia after that report was made. . . Later on, Mr. Hill had an electro-cardiogram made for the purpose of detecting any trouble with his heart. This cardiogram indicates upset rhythm of the heart and relaxation of the muscles. . . I continued to examine Mr. Hill and treat him, brought him back to the hospital after that, and made an x-ray of his gall bladder. I found something wrong there, diagnosed as chronic coleocystitis, which is an infection of the gall bladder, thickening of the walls of the gall bladder. I did not undertake to cure that by operating. . . In my opinion, from these examinations and reports with which I have refreshed my mind, and my treatment of Mr. Hill through the period of time, that Mr. Hill is not able to perform the ordinary duties of his occupation as merchant at Crawfordville at the time. I know Mr. Hill has not been able to perform the usual duties of his occupation since this first report of April 14, 1946. . . I do not think he would be able to handle a dealer's job and sell and demonstrate cars if he had to do it himself. . . I think if someone else did it for him, and he did just the mental part of it, in my opinion the mental part would be all right. It would not injure him or be dangerous to him, but possibly the physical part would be."
The plaintiff testified to the effect that he had formerly operated a general mercantile business, where he assisted in all the work of the store, but that he became sick and disabled and his condition *Page 642 
grew worse until he was forced to quit; that he entirely gave up working the 1st of March, 1946, and sold his business; that he owned 3 farms, which he kept; that he had the agency for Pontiac automobiles and had sold 8 cars since he sold his mercantile agency; that he had a waiting list for new cars, and when he was allotted a car he either went and got the car or sent for it and delivered it to the purchase; that no amount of effort or physical work was entailed in handling these cars; that he filled out and sent to the defendant insurance company certain forms and sent them a letter with reference to his physical condition; that he was not able to attend to his business after March, 1946; that he was 60 years of age; that he was not able to perform any duties requiring physical work and had not been able to perform any duties since February 4, 1946, when he wrote the defendant he was having to sell his business and that he was not able to work. There was other evidence introduced, including a report of Dr. C. E. Wills, who examined the plaintiff for the defendant insurance company and reported to the company. This report was produced by the defendant on notice to produce given by the plaintiff, and was placed in evidence. It stated, in part, that the plaintiff was wholly disabled from engaging in any and every occupation for wage or profit and that, based on hearsay, he believed that the plaintiff had been continuously so disabled since 1946, and that, in his opinion, the plaintiff would be disabled indefinitely.
The jury found in favor of the plaintiff. The defendant's amended motion for a new trial was overruled, and it excepted.
1. The plaintiff in error contends in its exceptions pendente lite, on which error is assigned in the main bill of exceptions, that the court erred in refusing its request for a continuance to allow it time to make a request to have the plaintiff examined by a physician of its choice. It is well-settled law that "All applications for continuances are addressed to the sound legal discretion of the court" in which the case is pending. Code, § 81-1419; Williams v. Baber, 61 Ga. App. 56 (1) (5 S.E.2d 703), and citations. In the present case, the trial judge ruled that he would not grant an *Page 643 
indefinite continuance or continue the case for the term to allow the defendant to file a request to have the plaintiff examined by a physician of its selection, but that he would grant an order for an examination of the plaintiff if the defendant requested it during the trial of the case and the defendant had such a physician in the county where the case was on trial. It does not appear from the record that the defendant could not have by due diligence obtained a physician during the progress of the trial, which lasted more than one day, to make such an examination, or that the defendant made any effort to obtain such a physician. The plaintiff had been examined by two physicians, and their reports were placed in evidence. One of these examinations was made at the request of the insurance company and by a physician of its choice, Dr. C. E. Wills. Under the facts, it does not appear that the trial judge abused his discretion, and his ruling refusing to continue the case will not be disturbed by this court.
2. The plaintiff in error contends that the court erred in overruling the general grounds of its motion for a new trial, for the reason that the evidence did not authorize a finding that the plaintiff had become disabled within the meaning of the provisions of the policies sued upon. The disability provision contained in each of these policies was as follows: "Upon due proof that . . the insured has become wholly disabled by bodily injuries or disease and will be continuously and wholly prevented thereby for life from engaging in any occupation or employment for wage or profit, the company will waive the payment of any premiums which may fall due on this contract during such disability and will pay from the commencement of such disability and during its continuance the disability income stated on the first page of this contract. The premiums so waived and the disability income so paid will not be deducted in any settlement hereunder. . . Independently of all other causes the company will consider as permanent total disability the entire and irrevocable loss of the sight of both eyes, or of both hands or of both feet or of one hand and one foot." This provision was intended primarily as insurance against loss of earning capacity and was not necessarily a provision against loss of income. John HancockMutual Life Insurance Co. v. Frazer, 194 Ga. 201
(20 S.E.2d, 915); Mutual Life Insurance Company v. Barron, 198 Ga. 1,12 (30 S.E.2d 879). *Page 644 
The jury was authorized to find from the evidence that the plaintiff was engaged in a general mercantile business prior to March 1, 1946, where he handled heavy groceries, feeds, grain, hardware, dry goods, lime and cement; that, while the plaintiff had clerks in operating the store, he waited on the trade, bought and sold merchandise, kept the books, and was on his feet continuously; that his store hours were from 6 o'clock in the morning until 7 o'clock in the evening; that the plaintiff's health began to decline in 1941, and his condition gradually grew worse until he was forced to quit working, and that he gave up working on March 1, 1946, and sold his mercantile business; that he had the agency for Pontiac automobiles, and gave up all of his activities in connection with this business during the recent war, but continued to own the agency; that he had a waiting list of customers, and when his agency was allotted a new automobile, he would either send for it or cause the customer to carry him after it, and that selling these cars required no physical effort or physical work whatsoever; that he owned three farms, but these were in the entire charge of a partner; that he and this partner raised cattle on these farms, and he received one-half of the proceeds of all sales; that he was able to walk some and to drive an automobile on the pavement, but was not able to perform any duties which required physical work; that he had not been able to perform any duties since he wrote the defendant company, on February 4, 1946; and that he was not able to work and was having to sell his business. Under the evidence, the jury was authorized to find that the plaintiff was and had been, since March 1, 1946, unable from physical disability to perform any substantial part of the duties of his former occupation or business, or of such other employment approximating the same livelihood as he might fairly have been expected to follow, and he was not precluded from recovering for such disability by reason of the fact that he received some income from his automobile agency and farms. The verdict is supported the evidence, and the court did not err in overruling the general grounds of the motion for a new trial.
3. Special ground 1 of the motion is a mere amplification of the general grounds, and, for the reasons above stated, the court did not err in overruling this ground of the amended motion for a new trial. *Page 645 
4. In special ground 2 of the motion, the plaintiff contends that the verdict is excessive, for the reason that there was no evidence of proof of disability prior to January 13, 1947, the date of the report by Dr. C. E. Wills. This ground of the motion is without merit. The defendant in error testified in part: "I am not able to perform any duties requiring physical work. . . As far as disability was concerned, that was in 1946. On February 4, [1946] I wrote the [defendant insurance] company [that] I was having to sell out and was not able to work. I have not been able to perform any duties since that date." Under the evidence, the jury was authorized to find that the total disability, within the provisions of the contracts of insurance, commenced on or prior to March 1, 1946, the date fixed by them in their verdict. The verdict is not excessive under the pleadings and the evidence of the case, and the court did not err in so holding.
Complaint is also made in this ground of the motion that the verdict is excessive under the finding of the jury. The verdict was as follows: "We the jury find that the plaintiff do recover: the following amounts: $80 per month: 7% interest. From March 1, 1946 to date: on the 8 policies held by the plaintiff with the Travelers Insurance Co.: Also $274.88 back premiums. The 25% for bad faith be eliminated due to the fact that definite disability was established to the company only in 1947." It is the contention of the plaintiff in error that the verdict shows that the disability commenced in 1947. We think that a reasonable and fair construction of this verdict is that the total disability commenced on March 1, 1946, but that this fact was not definitely established to the defendant insurance company until 1947. The judge did not err in overruling special ground 2 of the motion for a new trial.
5. Complaint is made in special ground 3 that the court erred in giving the following charge: "I charge you that total disability does not mean an absolutely physical inability to work at one's occupation or to pursue some occupation for wages or gain, but it exists if the injury or disease of the insured is such that common care and prudence require him to desist, and he does in fact desist, from transacting his business. In such circumstances, total disability exists, and it is entirely a question for you to determine from all the evidence, facts and circumstances *Page 646 
as to whether or not there was a total disability in this case." The plaintiff in error contends that the following language from the charge above quoted, "but it exists if the injury or disease of the insured is such that common care and prudence require him to desist, and he does in fact desist, from transacting his business," is an erroneous statement of the law as it existed at the time of the trial, it being the law at the time of the trial that the language of the policy providing, "from engaging in any occupation or employment for wage or profit," would mean the ordinary employment of the particular insured or such other employment, if any, approximating the same livelihood that the insured might fairly be expected to follow in view of his station, circumstances and physical and mental capability.
This exception is well taken. The language defining total disability in the charge here complained of is the same as that used by the Supreme Court in headnote 4 of the case of Cato v.AEtna Life Insurance Company, 164 Ga. 392 (138 S.E. 787), and is the same definition as contained in the body of the opinion on page 399 of that decision. The Supreme Court inMutual Life Insurance Co. v. Barron, 198 Ga. 1 (supra), reviewed the decision in the Cato case, supra, and the decision in Prudential Insurance Company v. South, 179 Ga. 653
(177 S.E. 499, 98 A.L.R. 781), and referred to a number of other decisions by the Supreme Court and the Court of Appeals dealing with total-disability provisions in insurance policies similar to the provision, in that respect, in the policies involved in the present case. The Supreme Court in the Barron case, among other things, said: "There is a material difference between a policy providing for payments for disability to carry on a particular occupation, and one under which such payments are to be made in case the insured becomes unable from disability to carry on or to follow any gainful work or occupation. The distinction was pointed out in Buffo v. Metropolitan Life Ins. Co., 277 Ill. App. 366,368, as follows: `It appears that there are two general types of contracts of insurance of this nature, one of which provides for indemnity if the insured is disabled or prevented from engaging in any occupation and performing any work for compensation or profit, which policy is commonly known and designated as a total-disability policy. The other kind provides for indemnity if the insured is disabled *Page 647 
from transacting duties pertaining to the particular occupation in which the insured is then engaged. These are ordinarily styled occupational disabilities. It is generally recognized that there is a fundamental difference between these two classes of insurance and the risk that is assumed therein by the insurer. It therefore becomes necessary to revert to the provisions of the policy in question to determine which class the same comes under.'" The court then quoted from the Cato case the same definition of total disability which is here excepted to, and then said: "The decision thus tended to construe the policy as one providing for occupational, as distinguished from general, disability," and "so much of the opinion as tended to treat the policy as one providing for an occupational disability was obiter, and did not prevent this court from laying down a different rule, as we later did in Prudential Insurance Co. v.South, supra. Yet we did not in the later case expressly refer to the dictum in the Cato case, and our failure to do so tended to leave the law in a state of confusion as related to contracts of this class."
The policy in the present case provided, "Upon due proof that . . the insured has become wholly disabled by bodily injuries or disease and will be continuously and wholly prevented thereby for life from engaging in any occupation or employment for wage or profit," that the company would "waive the payment of any premiums which may fall due on this contract during such disability and will pay from the commencement of such disability and during its continuance the disability income stated." This was a total-disability policy and not an occupational disability policy. The insured would be totally disabled within the meaning of the terms of this policy if he was unable to perform any substantial part of the duties of his occupation or such other employment approximating the same livelihood as he might fairly have been expected to follow. In other words, if the insured was so incapacitated that substantially all of the material activities of his occupation or employment or such other employment approximating the same livelihood as he might fairly have been expected to follow are reasonably closed to him, he is totally disabled within the meaning of this policy. As we understand, this is the rule as to the meaning of total disability in such policies as laid down by the Supreme Court in the Barron case, supra, *Page 648 
the South case, as modified by the Barron case, the case ofMetropolitan Life Insurance Co. v. Johnson, 194 Ga. 138
(20 S.E.2d, 761), and other similar cases referred to in theBarron case. If the policy had been one covering a particular occupation, then it would have been necessary to show only that the insured had become totally and permanently disabled to follow that particular occupation.
The plaintiff in error also contends that the instruction complained of was erroneous, in that it was in direct conflict with the following charge of the court: "I charge you, gentlemen, that where a policy of insurance provides that the insurer will pay to the insured stated sums monthly upon proof that after issuance of the policy he had become totally, permanently disabled, as defined in this policy, that the insured has become wholly disabled by bodily injuries or disease and will be continuously and wholly prevented thereby for life from engaging in any occupation or employment for wage or profit, that the words, `from engaging in any occupation or employment for wage or profit,' as used in this clause, would mean the ordinary employment of the particular insured or such other employment, if any, approximating the same livelihood as the insured might fairly be expected to follow in view of his station, circumstances, and physical and mental capabilities. Mere inability of the insured to perform all or substantially all of the duties of his occupation or such other line of endeavor as he might be reasonably expected to follow, within the foregoing rule, would not amount to total disability, for he would not be totally disabled unless he was unable to perform any substantial part of the duties of such occupation or other line of endeavor as described."
The charge complained of in this ground of the motion was error and requires the grant of a new trial. Under the facts and circumstances of the case, it was a question for the jury to determine whether the plaintiff was totally disabled within the meaning of the terms of the policy. Although a verdict in favor of the plaintiff was authorized by the evidence, it was not so demanded. Consequently, the erroneous statement in the charge here complained of as to the meaning of total disability and when it existed on the part of the plaintiff requires a reversal of the judgment in this case. *Page 649 
6. In special ground 4 of the motion, error is assigned on the charge of the court submitting to the jury for its determination whether or not proper proofs of disability were furnished by the insured to the company. It does not appear how the plaintiff in error could have been harmed by this charge. While the defendant in error alleged in his petition that he had furnished the plaintiff in error with due proofs of disability, and this was denied in the answer of the plaintiff in error, it affirmatively appears without conflict from the evidence, that the defendant in error wrote the plaintiff in error a letter on February 4, 1946, that he was applying for total-disability benefits under his policies of insurance, and that, if there were any questions the company wanted to ask him, or any forms it wanted filled out, or any examinations it desired him to undergo, for it to advise him; and that the defendant insurance company in reply to this letter sent him certain forms, which he filled out or caused to be filled out and returned to the company, and it accepted them without objection and denied liability. Under these circumstances, this was a waiver of proof of disability, and the charge, if error, was harmless to the plaintiff in error. In this connection, see New York Life Insurance Co. v. Williamson,53 Ga. App. 28, 31 (184 S.E. 755). The court did not err in overruling special ground 4 of the motion.
7. For the reason assigned in division 5 of this opinion, the trial judge erred in overruling the motion for a new trial.
Pursuant to the act of the General Assembly, approved March 8, 1945 (Ga. L. 1945, page 232, Code, Ann., § 24-3501), requiring that the full court consider any case in which one of the judges of a division may dissent, this case was considered and decided by the court as a whole.
Judgment reversed. MacIntyre, P. J., Gardner, Parker, andTownsend, JJ., concur. Felton, J., dissents.